 

 

Case 19-19686 Doc4 Filed 07/18/19 Page1 of2

Fill in this information to identify your case: ys j

Debtor 1 Debra Roxanne Marsh
First Name Middte Name Last Name shel Ep, Ee

ire 4 , fa “L

Debtor 2 2049 JUL y8 PRI os

(Spouse, if filing) First Name Middle Name Last Name

  

United States Bankruptcy Court for the: District of Maryland

Case number 2 (J Check if this is an
(if known) , amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12s

 

if you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the cet and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On|the top of any additional pages,

write your name and case number (if known).

ee Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors Ally Bank (J Surrender the property. CI No
_ (J Retain the property and redeem it. 4 Yes
Description of 2018 Honda Civic Q . .
property Retain the property and enter into a
Reaffirmation Agreement.

securing debt:
M4 Retain the property and [explain]: _|
Continue to make regular payments

 

Creditors () Surrender the property. LI No

name: Mr. Cooper Mortgage
; (2 Retain the property and redeem it. M Yes
Description of Residence g ; .
property 9375 Bremerton Way Retain the property and enter into a
Reaffirmation Agreement.

securing debt: Montgomery Village, MD 20886 El Retain the property and fexplain}

Continue to make regular payments

Creditors .
name: Bank of America Mortgage (J Surrender the property. (CQ No
Resid U Retain the property and redeem it. WU Yes
ipti esidence
Description of (2 Retain the property and enter into a
property 9375 Bremerton Way Reaffirmation Agreement

securing debt: Montgomery Village, MD 20886 W Retain the property and [explain

Continue to make regular payments

Creditor’s (1 Surrender the property. (1 No

name:
() Retain the property and redeem it. Q Yes
aa ¢
Oopety ° Q) Retain the property and enter into a
Reaffirmation Agreement.

securing debt:
() Retain the property and [explain]: _|

 

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Debtor 4 Debra Roxanne Marsh Case number (if known),

First Name Middle Name Last Name

oe =" Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. /§ 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: UNo
Oy

Description of leased es

property:

Lessors name: 0 No
Oy

Description of leased es

property:

Lessors name: CI No

Description of leased Yes

property:

Lessors name: OINo
CL] Yes

Description of leased

property:

Lessors name: ONo
OG Yes

Description of leased

property:

Lessors name: 0) No

a. C} Yes

Description of leased

property:

Lessor’s name: OINo
U0 Yes

Description of leased
property:

 

jeans: Below

Under penalty of perjury, | deciare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x OWoUwh *

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 7104/2019 Date
MMi DD / YYYY MM/ DD! YYYY

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